                   Case 3:25-cv-01145-JAG                   Document 1-7             Filed 03/12/25           Page 1 of 2

01"334"56789"4*+,-.""/011234"53"6"75858"09:523
                                     ;<=>?@"/>0>?/A2"B@":C7=/>6=7>"71;6>
                                                  DDDDDÉÊ
                                                       DDË
                                                         DÌDÍDÊÎ"@5
                                                                 Ì"Ï4Ð:"BÑ59Ò:Ó"2ÍAÌ"ÏD"DÔÊ
                                                                                          DDÎDÏDDDDD"
     ""UNITED
       """"""""STATES
   UNITED
    UNITED     ""STATES
                 ³´   µ¶·¸DEPARTMENT
                           "¹SMALL
                              ¶º¶·»"¼BUSINESS
                                       ½"¾¿· ÀµÁºÂ
                                            OF
                                                                          . Civil Action No.
     ""FEDERAL
       """""Service
            """"""""""COMMUNICATIONS
   AGRICULTURE
    ADMINISTRATION
                      ºAgency)
                        Á¶µ́Ã"¶ÄÀ¼ÅÃÄ"¶Ä·COMMISSION
                  STATES OF AMERICA, acting through the
                                                                          .
     ³´µ¶·¸"¹¶º¶·»"Æ·ÇºÀ¶¿·´¶"¼½"¾ÃÀµÁÅÈ¶ÅÀ·
   (Farm
                                                                          .
                                                                          .
                               EFGHIJHKKLMN                               .Re: Foreclosure
                                   89                                     . Rem)       75 8 58"09:5 2
                                                                                      Collection ofof
                                                                                                     3 "
                                                                                                       <29
                                                                                                     Money
                                                                                                       Mortgage (In
                                                                          . Forfeiture
                                                                          .             
                                                                                       CollectionPenalty
                                                                                                        "
                                                                                                   of Penalty
                                                                                                                "
                                                                                                              under
                                                                                                          under The Communications
                                                                          . of 1934
   CARLOS
    MO    KOWALBERTO
     KIOMARA      CHIU
                    CRUZ VEGA GONZALEZ RIVERA,
                                                                                       ERISA
                                                                                      Act       Act of 1974
   ET RAZA
        AL.     GLOBAL,      INC.
                                                                          .
 Boom Net,PUERTO       RICOBoom
               LLC (d/b/a      WIRESolutions)
                                      PRODUCTS, INC.

                                                                          .
                              OPKPIQGIJLMN                                .
                                                  RSTTUVR"WV"X"YWZW["XY\WUV
>2]"LOPKPIQGIJ^M"IG_P"GIQ"GQQ`PMMN
           KIOMARA
             Boom
              RAZA Net,
                PUERTO CRUZ
                    GLOBAL,
                        LLC    VEGA
                              (d/b/a
                           RICO INC. Boom
                                  WIRE     Solutions) INC.
                                        PRODUCTS,
    CARLOS
     MO KOW   ALBERTO
               CHIU
           Calle Clamor  GONZALEZ
                          #11          RIVERA
             URB.
              MetroSAN
                Reparto ALFONSO
                         Industrial
                    Office Park     Corujo
    -Roncador
     72 Condado
           Bo. Wd., St. Rd. 603, Km. 4.4 Int., Utuado, PR 00641;
                  Ave.
               Coto
             A-8 AVE.
                Carr.
              Metro    DEGETAU
                      866,
                    Parque Lote
                             7,  #8 204
                                Suite
    -PO BoxIsabela,
     Condado,2051,
               PR  Angeles,
                   00907
                    PR  00662Utuado,  PR 00641;
             CAGUAS,
                San
              San14182, PR
                    Juan,   00726
                           PR
                  Juan, Utuado, 00936
                         PR 00928
    -HC-03, Box                   PR 00641.



         0"86a405:"C64"b773"A587c"6d6534:"e209
         f5:C53"-,"c6e4"6A:7B"47B8597"2A":C54"4011234"23"e20"532:"9203:53d":C7"c6e"e20"B797587c"5:."g"2B"*4"c6e4"5A"e20
6B7":C7";35:7c"/:6:74"2B"6";35:7c"/:6:74"6d739eh"2B"63"2AA597B"2B"71i82e77"2A":C7";35:7c"/:6:74"c749B5b7c"53"j7c9"69"7589
k9",-"56.5-."2B"5l."g"e20"104:"47B87"23":C7"i8653:5AA"63"634a7B":2":C7"6::69C7c"921i8653:"2B"6"12:523"03c7B"6087",-"2A
:C7"j7c7B68"60874"2A"75858"kB297c0B79"">C7"634a7B"2B"12:523"104:"b7"47B87c"23":C7"i8653:5AA"2B"i8653:5AAm4"6::2B37eh
aC247"3617"63c"6ccB744"6B7]
                                     "¡¢£¤"¥£¡¦§£"¥¤
                                     ¨©£©"ª£«"¬­®¯
                                     °±ª£"¨¡"®®­²®
       =A"e20"A658":2"B74i23ch"n0cd173:"be"c7A608:"a588"b7"73:7B7c"6d6534:"e20"A2B":C7"B7857A"c7163c7c"53":C7"921i8653:9"
o20"6842"104:"A587"e20B"634a7B"2B"12:523"a5:C":C7"920B:9
                                                                                    " "
                                                                                    pqrst"uv"puwsx
@6:7]
                                                                                                 yHzIGJ{`P"|K"pFP`}"|`"OP~{J"pFP`}
                    Case 3:25-cv-01145-JAG                 Document 1-7    Filed 03/12/25         Page 2 of 2

01"334"56789"4*+,-.""/011234"53"6"75858"09:523"5;6<7"-.
 75858"09:523"=29
                                                    >?@@A"@A"BC?DEFC
                 GHIJK"KLMNJOP"KIOQRS"PON"TL"UJRLS"VJNI"NIL"MOQWN"QPRLKK"WLXQJWLS"TY"ZLS["\["]J^["_["`"GRaa
         bc54"4011234"d2e"fghij"kl"mgnmomnphq"hgn"rmrqjs"ml"hgtu
 v64"e797587w"xy"17"23"fnhrju                                      9
         z {"|7e423688y"47e87w":c7"4011234"23":c7"53w585w068"6:"f}qh~ju
                                                                             23"fnhrju                         "2e
         z {"87d:":c7"4011234"6:":c7"53w585w0684"e745w7397"2e"04068"|8697"2d"6x2w7"v5:c"fghiju
                                                             "6"|7e423"2d"405:6x87"6<7"63w"w549e7:523"vc2"e745w74":c7e7
         23"fnhrju                       "63w"16587w"6"92|y":2":c7"53w585w0684"864:"32v3"6wwe744"2e
         z {"47e87w":c7"4011234"23"fghij"kl"mgnmomnphqu                                                                 "vc2"54
         "w745<36:7w"xy"86v":2"6997|:"47e8597"2d"|e29744"23"x7c68d"2d"fghij"kl"khgmhrmkgu
                                                                             23"fnhrju                         "2e
         z {"e7:0e37w":c7"4011234"037790:7w"x796047                                                                        "2e
         z 1:c7e"f}j~mltu
                                                                                                                                 9
           y"d774"6e7"                          d2e":e6878"63w"             d2e"47e85974"d2e"6":2:68"2d"                 9
           {"w7986e7"03w7e"|7368:y"2d"|7e0ey":c6:":c54"53d2e16:523"54":e079
 6:7
                                                                                    joj"mghrpj

                                                                                  mgrjn"ghij"hgn"rmrqj


                                                                                    joj"hnnj
 0ww5:52368"53d2e16:523"e7<6ew53<"6::71|:7w"47e8597"7:9
